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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 KEVIN BALTIMORE, on behalf of                        :
 themselves and others similarly situated,            :   CIVIL ACTION FILE NO. 21-cv-10045
                                                      :
        Plaintiff,                                    :
                                                      :
 v.                                                   :
                                                      :
 JCJB MARKETING INC.                                  :
                                                      :
        Defendant.                                    :
                                                      :
                                                  /

                                  NOTICE OF DISMISSAL

       NOW COMES the Plaintiff and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), the Plaintiff

hereby voluntarily dismiss all of his claims against the Defendant with prejudice.



 Dated: March 25, 2021                       Respectfully submitted,

                                             By: /s/ Anthony I. Paronich
                                             Anthony I. Paronich
                                             Paronich Law, P.C.
                                             350 Lincoln Street, Suite 2400
                                             Hingham, MA 02043
                                             [o] (617) 485-0018
                                             [f] (508) 318-8100
                                             anthony@paronichlaw.com

                                             Attorneys for Plaintiff
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on this 25th
day of March, 2021 on all counsel of record via the Court’s CM/ECF system.


                                                    /s/ Anthony I. Paronich
                                                    Anthony I. Paronich




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